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UNITED STATED BANKRUPTCY COURT
District of Massachusetts


PDF File with Audio File Attachment



              Case Type:          bk

              Case Number:        19-14142

              Case Title:         Brian W. Coughlin

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